                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         CHRISTOPHER D. WYMAN,                               Case No. 12-32264-dof
                                                             Chapter 7 Proceeding
            Debtor.                                          Hon. Daniel S. Opperman
_____________________________________/
MICHAEL A. MASON and
BARBARA DUGGAN,

         Plaintiffs,

v.                                                           Adversary Proceeding
                                                             Case No. 12-3348-dof
MICHELLE PICHLER
and EDWARD LINCK,

      Defendants.
_____________________________________/

                        Opinion Regarding Motions for Summary Judgment

         The Plaintiffs, Michael Mason, Trustee for the Debtor Christopher D. Wyman, and Barbara

Duggan, a creditor of Mr. Wyman, filed a Complaint against Michelle Pichler and Edward Linck,

claiming that a transfer from the Debtor to Ms. Pichler is a preference pursuant to 11 U.S.C. § 547

and that certain transfers between and among the Debtor, Ms. Pichler, and Mr. Linck are fraudulent

conveyances pursuant to 11 U.S.C. § 544 and Michigan Fraudulent Conveyance law.

         The Plaintiffs filed a Motion for Summary Judgment on the preference action and certain

counts regarding fraudulent conveyances. The Defendants, Ms. Pichler and Mr. Linck, filed a

Response to that Motion and also request summary judgment in their favor.

                                              Facts

         The Debtor purchased property known as 1011 Jones Road, Howell, Michigan (the “Jones

Road Property”) on May 14, 2009. A few months later, the Debtor borrowed $133,000 and gave

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a mortgage to Mr. Linck that was recorded on July 13, 2009. That mortgage was discharged on

February 2, 2010, as evidenced by a Discharge of Mortgage recorded with the Livingston County

Register of Deeds. This Discharge states the mortgage is "fully paid, satisfied and discharged".

       In October of 2009, a Memorandum of Land Contract evidencing a land contract between

the Debtor and Ms. Pichler was signed and that document was recorded on November 25, 2009.

Subsequently, on October 17, 2009, Ms. Pichler signed a mortgage regarding the Jones Road

Property to Mr. Linck in the amount of $155,000. The Plaintiffs allege that the mortgage is a sham

because Mr. Linck did not give money to Ms. Pichler. That mortgage was not recorded until

February 2, 2010.

       The Debtor signed a Quit Claim Deed transferring the Jones Road Property to Ms. Pichler

in October, 2009, but the Quit Claim Deed was not recorded until April 24, 2012. The Debtor filed

his Chapter 7 bankruptcy petition on May 24, 2012.

       The Debtor listed Ms. Pichler and Mr. Linck as creditors on Schedule F. The Plaintiffs

allege in paragraph 19 of their Complaint that Ms. Pichler “is an insider listed as a creditor in

WYMAN’S Petition and Schedules whose alleged debt arose before April 24, 2012.” Defendant

Pichler’s response to this allegation is:

               19.    Defendant Pichler denies that she was an insider at all pertinent times
       on April 24, 2012. She does admit that she was listed as a creditor of Wyman in the
       Petition and Schedules.

       The Plaintiffs’ Motion for Summary Judgment does not identify Defendant Pichler’s status

as a creditor or insider as a material fact beyond dispute.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(F)


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(proceedings to determine, avoid, or recover preferences) and (H) (proceedings to determine, avoid,

or recover fraudulent conveyances).

                                         Applicable Statute

       11 U.S.C. § 547(b) states:

               (b) Except as provided in subsections (c) and (i) of this section, the trustee
       may avoid any transfer of an interest of the debtor in property –
                        (1) to or for the benefit of a creditor;
                        (2) for or on account of an antecedent debt owed by the debtor before
       such transfer was made;
                        (3) made while the debtor was insolvent;
                        (4) made –
                                 (A) on or within 90 days before the date of the filing of the
       petition; or
                                 (B) between ninety days and one year before the date of the
       filing of the petition, if such creditor at the time of such transfer was an insider; and
                        (5) that enables such creditor to receive more than such creditor
       would receive if –
                                 (A) the case were a case under chapter 7 of this title;
                                 (B) the transfer had not been made; and
                                 (C) such creditor received payment of such debt to the extent
       provided by the provisions of this title.

                                        Standard of Review

       Federal Rule of Civil Procedure 56 is made applicable in its entirety to bankruptcy adversary

proceedings by Federal Rule of Bankruptcy Procedure 7056. Federal Rule of Bankruptcy Procedure

7056(c) provides that summary judgment is proper "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law." See Choate v. Landis Tool Co., 46 F. Supp. 774 (E.D. Mich. 1980). The moving party

bears the burden of showing the absence of a genuine issue of material fact as to an essential element

of the non-moving party's case. Street v. J.C. Bradford & Co., 886 F.2d 1472 (6th Cir. 1989) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)). The burden then


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shifts to the nonmoving party once the moving party has met its burden, and the nonmoving party

must then establish that a genuine issue of material fact does indeed exist. Janda v. Riley-Meggs

Industries, Inc., 764 F. Supp 1223, 1227 (E.D. Mich. 1991).

                                              Analysis

       The Plaintiffs argue that the Jones Road Property was owned by the Debtor until the April,

2012, Quit Claim Deed was recorded. The Plaintiffs also argue that the transactions between the

Debtor and the Defendants are fraudulent. Both Ms. Pichler and Mr. Linck dispute the Plaintiffs'

contentions and claim that while these transactions are unusual, they can be explained.

       With the record developed to date, title to the Jones Road Property did not pass from the

Debtor to Ms. Pichler until the Quit Claim Deed was recorded. The Quit Claim Deed was recorded

within the 90 day period prior to the Debtor’s bankruptcy petition, so this transfer could be a

preference under 11 U.S.C. § 547. While the Court acknowledges that Ms. Pichler claims that there

was a land contract, the titleholder to the Jones Road Property was the Debtor, not Ms. Pichler.

What is not clear, however, is whether Ms. Pichler is a creditor of the Debtor. The pleadings leave

this issue open, as Defendant Pichler denies her insider status and only admits that she was listed

as a creditor by the Debtor. The Plaintiffs have not alleged any additional facts and do not even

address this issue in their summary of uncontested facts. Since a successful preference action

requires a debtor-creditor relationship, the record is not sufficient to grant summary judgment at this

time. The Court will allow the parties to conduct discovery and raise this issue to the Court.

       Turning to the fraudulent conveyance claims, the Court first finds that the mortgage given

by the Debtor to Mr. Linck was discharged. To the extent that Mr. Linck claims that this mortgage

still exists, the Discharge of Mortgage clearly indicates that the mortgage was released and satisfied.

       There is an open issue as to whether Mr. Linck misunderstood the nature of his advancing


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the funds to Ms. Pichler. There is also the open issue of the transactions, if any, that occurred

between the Debtor and Ms. Pichler. For example, if discovery reveals that no debt was owed by

the Debtor to Ms. Pichler, the Plaintiffs’ preference claim may fail, but the necessary element of lack

of consideration may support the Plaintiffs’ fraudulent conveyance claim. The affidavits filed in

support of the various Motions for Summary Judgment do not allow this Court to clearly find for

either party, at this time. Accordingly, the Court finds that there are genuine issues of material fact

that preclude the granting of summary judgment at this time.

        The Court does note, however, that 11 U.S.C. § § 542, 544, 547, and 550 all grant “the

trustee” the powers and remedies created by each statute. Additionally, 11 U.S.C. § 548 grants

similar powers and remedies to “the trustee”. Here, one of the Plaintiffs, namely Michael Mason,

is the Trustee of the Christopher Wyman estate and has the requisite authority to initiate these

actions. The other Plaintiff, Barbara Duggan, does not. Although not specifically pled by the

Defendants, the Court questions the statutory authority that Barbara Duggan has to continue as a

Plaintiff in this case as to those actions. Given this procedural irregularity, the Court will allow the

Plaintiffs twenty-one (21) days to amend the Complaint to better explain the position of each

Plaintiff as to the causes of action involved. For the same reasons, the Court reserves the right of

the Plaintiffs to amend the Complaint to more specifically state the nature of the conveyances, as

well as to detail to this Court whether this Court has jurisdiction over these claims pursuant to Stern

v. Marshall, 131 S. Ct. 2594 (2011) and Waldman v. Stone, 698 F.3d 910 (6th Cir. 2012). At first

blush, it appears to this Court that certain fraudulent conveyance actions are strictly state law related

actions which may, or may not, be appropriate in this Court. Given the procedural posture of this

case, the Defendants should be given the opportunity to understand the nature of the claims made

against them, as well as to ascertain whether this is the proper Court to adjudicate those claims. For


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all of these reasons, the Court grants the Plaintiffs the right to amend their Complaint within twenty-

one (21) days to clearly state the nature of the claims and the legal basis for same, as well as to state,

in detail, the jurisdictional basis for each claim made by the Plaintiffs. Thereafter, the Defendants

shall have twenty-eight (28) days to respond to the amended Complaint.

        Counsel for the Plaintiffs is directed to prepare an order denying all Motions for Summary

Judgment.
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Signed on March 08, 2013
                                                            /s/ Daniel S. Opperman
                                                          Daniel S. Opperman
                                                          United States Bankruptcy Judge




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